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UNITED sTATEs DISTRICT CoURT F‘L*=`D W/?éllb; o.c.
WESTERN DISTRICT oF TENNESSEE
Western Division 05 JUL l 9 PH h: 52

UNITED STATES OF AMERICA

 

~v- Case No. 2:05cr20256-Ml
MICHELLE TURNEY THURLOUGH

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.
(2) 'I`he defendant shall immediately advise the court, Pretrial Services Oft`ice, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom #5 on Wednesday, July 27, 2005, at 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
corrnnunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

ADVICE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your airest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a tine, or both.

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with Ru|e 55 and/or 32{b) FFtCrP on

 

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment and a 5250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
infoirnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by deatli, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and thatI amaware of the conditions of release, Iproniise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence irripo ed. I am aware

of the penalties and sanctions set forth above.

Signature of Defenda@ "

Michelle urney Thurlough » ,
9215La miCove La ZZ.'l/|l
Cardova, TN 38016

(901) 870-7191

DlRECTlONS TO THE UN|TED STATES MARSHAL

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The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond andfor compiied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

pate Juiy 19, 2005 /<A/ hurt z %Wf

" DIANE K. vEscovo
UNi'rEi) sTATEs MAGisrRArE ;rUDGE

AO 199/t Order Satting Condilions of Re|ease '2'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20256 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

